
















In The


Court of Appeals


Sixth Appellate District of Texas at Texarkana



______________________________



No. 06-02-00110-CV


______________________________




ROBERT L. COLLINS, INDIVIDUALLY AND 


D/B/A COLLINS AND ASSOCIATES, Appellants



V.



ROYCE GUINN, INDIVIDUALLY AND D/B/A VIDEO ONE, Appellees




                                              


On Appeal from the 129th Judicial District Court


Harris County, Texas


Trial Court No. 87-39802A




                                                 




Before Morriss, C.J., Ross and Carter, JJ.


Opinion by Chief Justice Morriss



O P I N I O N



	Robert L. Collins, Individually and d/b/a Collins and Associates, appeals the trial court's
denial of his motion for summary judgment and the grant of summary judgment in favor of Royce
Guinn, (1) Individually and d/b/a Video One.  In several points of error, Collins contends the trial court
erred (1) in finding Guinn's lawsuit was not barred by res judicata, (2) in finding Guinn's suit was
not barred by the statute of limitations, (3) in finding that no genuine issue of material fact existed
that would preclude summary judgment, (4) in granting Guinn's motion for summary judgment, for
the reasons that the evidence is insufficient to support it, and (5) in denying Collins' motion for
summary judgment.  For the reasons set forth below, we affirm the trial court's judgment.

I.  Factual And Procedural Background

	In 1987, Pele Chandler, the daughter of Chloe Chandler ("Chandler"), was killed in a motor
vehicle accident.  Chandler hired Collins to sue Hyundai Motor Company in a wrongful death action
("Hyundai suit").  In connection with the wrongful death suit, Collins asked Video One to provide
videotape production and editing services.  Video One provided the services as requested.

	By 1992, the Hyundai suit was still pending and Video One had not yet been paid for
$93,854.51 in services it billed to Collins in connection with the suit.  Video One sued Collins for
the unpaid debt in a Harris County district court.  Collins defended the suit, claiming he and Video
One had agreed that payment was not due until the Hyundai suit was settled.  Collins prevailed in
the 1992 suit, and the trial court entered a take-nothing judgment in favor of Collins.  The 1992 trial
court later issued the following findings of fact and conclusions of law in support of its ruling:

Findings of Fact


		1.  This Court has jurisdiction over the parties and the subject matter of this
cause of action.


		2.  On or about December 12, 1989 Plaintiff, Video One, and Defendant,
Robert Collins[,] d/b/a Collins &amp; Associates, entered into an oral contract.


		3.  Pursuant to the terms of the contract, Plaintiff provided goods and services
at the direction and according to the specifications of the Defendant.


		4.  The services furnished by the Plaintiff, pursuant to the contract and at the
request of and on behalf of the Defendant, have a reasonable market value of Ninety-Three Thousand Eight Hundred Fifty-Four and 51/100 Dollars ($93,854.51).


		5.  Defendant owes Plaintiff a total of Ninety-Three Thousand Eight Hundred
Fifty-Four and 51/100 Dollars ($93,854.51) for the services furnished by Plaintiff
pursuant to the contract.


		6.  Pursuant to the terms of the contract, payment of the full Ninety-Three
Thousand Eight Hundred Fifty-Four and 51/100 Dollars ($93,854.51) is not due until
the resolution of the appeal in the case styled Chloe J. Chandler[.], et al vs. Hyundai,
et al[.], Cause No. 87-39802, in the First Court of Appeals for the State of Texas.


		7.  The only condition precedent to Plaintiff's right to recover under the
contract is the resolution of the appeal of the case styled Chloe J. Chandler, et al[.]
vs. Hyundai, et al[.], Cause No. 87-39802, in the First Court of Appeals for the State
of Texas.


		8.  To the extent that any of these are erroneously determined Findings of
Fact, but are Conclusions of Law, they shall be deemed Conclusions of Law for all
purposes.



Conclusions of Law


		1.  A valid[,] enforceable contract was entered into by and between Plaintiff,
Video One, and Defendant, Robert Collins[,] d/b/a Collins &amp; Associates on or about
December 12, 1989.


		2.  The Court finds that pursuant to the terms of the contract, payment of
Ninety-Three Thousand Eight Hundred Fifty-Four and 51/100 Dollars ($93,854.51)
is due upon the resolution of the appeal in the case styled Chloe J. Chandler, et al[.]
vs. Hyundai, et al[.], Cause No. 87-39802, in the First Court of Appeals for the State
of Texas.


		3.  The Court finds that the sum of Ninety-Three Thousand Eight Hundred
Fifty-Four and 51/100 Dollars ($93,854.51) is due and payable upon ruling and
issuance of an opinion by the First Court of Appeals in the appeal styled Chloe J.
Chandler, et al[.] vs. Hyundai, et al[.], Cause No. _________, in the First Court of
Appeals for the State of Texas, regardless of the outcome of such appeal, and
regardless of any additional appeals or court action.


		4.  To the extent that any of these are erroneously denominated Conclusions
of Law, but are Findings of Fact, they shall be deemed Findings of Fact for all
purposes.


Neither Guinn nor Collins appealed the 1992 judgment, nor did they object to the trial court's
findings of fact and conclusions of law.  On August 25, 1994, the Thirteenth Court of Appeals issued
its opinion in Hyundai Motor Co. v. Chandler, 882 S.W.2d 606 (Tex. App.-Corpus Christi 1994,
writ denied). (2)  By September 22, 1997, Chandler had settled the Hyundai case. 

	On September 6, 1996, after the Hyundai appeal had been reversed, but while the case was
still pending before the trial court, Guinn/Video One filed a plea in intervention in the Hyundai suit. 
An intervenor's amended petition was filed on June 10, 1997.  On July 11, 1997, the trial court
granted &nbsp;Guinn's &nbsp;motion &nbsp;to &nbsp;sever &nbsp;the &nbsp;intervention; &nbsp;the &nbsp;severed &nbsp;case &nbsp;was &nbsp;restyled &nbsp;Cause
Number 87-39802-A, Royce Guinn, Individually and d/b/a Video One vs. Chloe Chandler.    

	Guinn/Video One filed a first supplemental petition on December 8, 1997, alleging
subrogation, unjust enrichment, and quantum meruit as causes of action.  A second amended petition
was filed against both Chandler and Collins on August 19, 1998, alleging breach of contract,
subrogation, unjust enrichment, and quantum meruit.  Guinn filed a motion for summary judgment
on November&nbsp;3, 1998.  He asked for judgment on the debt plus attorney's fees in the amount of
$40,000.00.  In support of his claim for attorney's fees, Guinn submitted the affidavit of Allen D.
Russell, which reads in pertinent part, as follows:

	My name is Allen D. Russell.  I am the attorney of record in the above-styled and
numbered cause for and on behalf of ROYCE GUINN, INDIVIDUALLY and d/b/a
VIDEO ONE, Plaintiff herein.  I am over eighteen (18) years of age and am fully
competent and duly authorized to make this Affidavit, which facts are true and
correct.


	1.	I am an attorney duly licensed by the State of Texas and an associate of the
law firm of Wauson &amp; Associates, P.C.  I am currently practicing in Houston,
Harris County, Texas.  I am familiar with the fees charged by attorneys in and
around Harris County, Texas, for services of a similar nature to those
performed herein.


	2.	ROYCE GUINN, Individually and d/b/a VIDEO ONE has retained the law
firm of Wauson &amp; Associates, P.C. to represent it in the suit against Chloe J.
Chandler, Defendant herein.


	3.	All legal services performed on behalf of Royce Guinn, Individually and
d/b/a VIDEO ONE have been reasonable and necessary.


	4.	In my opinion, the sum of no less than Forty Thousand Dollars ($40,000) is
a reasonable and customary fee for the legal services performed in this matter
for and on behalf of Royce Guinn, Individually and d/b/a VIDEO ONE in and
around Harris County, Texas, through the granting of this Summary
Judgment, and collection efforts thereon.  My opinion is based on a number
of facts, including without limitations, . . . the following:


		a.	The time and labor required, the novelty and difficulty of the legal
questions involved, and the skill requisite to perform the legal
services properly;


		b.	The fee customarily charged in the locality for similar legal services;


		c.	The amount involved;


		d.	The time limitation imposed by the client and the circumstances;


		e.	The nature and length of the professional relationship with the client;


		f.	The experience of the attorneys performing these services.


Collins filed a response to Guinn's motion for summary judgment, contending (1) Guinn's claim is
barred by a four-year statute of limitations because the debt was due in 1991, (2) Guinn's summary
judgment evidence failed to show an agreement between Collins and Guinn that the 1991 debt would
not accrue until the Hyundai case was settled, (3) Guinn should not be allowed to use the 1992
findings of fact and conclusions of law to sue Collins when the judgment in that case ordered that
Guinn take nothing, and (4) the 1992 take-nothing judgment bars relitigation of this debt under the
doctrine of res judicata.

	Guinn/Video One filed a third amended petition on December 17, 1998.  That petition
alleged breach of contract, subrogation, unjust enrichment, and quantum meruit; it also called for
application of the "main purpose doctrine" under the theory that Collins "personally promised and
represented that he would be liable for the purchase of the goods, wares, merchandise and/or services
described in the Plaintiff's account, and that, in the event Chloe J. Chandler did not pay for same,
then he would pay for same."  Finally, the petition asked for Collins to be collaterally estopped from
denying his obligation to pay the debt based on the findings and conclusions issued in 1992 and
based on Collins' prior admission in the 1992 suit that he would pay once the Hyundai case settled. 
	On March 20, 2002, the trial court granted Guinn's motion for summary judgment.  The trial
court ordered that Guinn recover from Collins and Chandler, jointly and severally, $93,854.51 for
services rendered in connection with the Hyundai suit, $4,223.45 in prejudgment interest, $40,000.00
in attorney's fees, court costs, and post-judgment interest at the rate of ten percent.  The trial court
also denied Collins' motion for summary judgment.    




II.  Discussion

	A.  Res Judicata

	In his first point of error, Collins claims the 1992 "take-nothing" judgment precludes Guinn's
recovery based on res judicata.  

	The principle of res adjudicata [sic] . . . is to expedite justice by putting an end to
litigation; [sic] and to preserve the sanctity of the judgments of the courts by making
them immune from collateral attack.  Once a court has exercised its functions of
decision on an issue over which it has jurisdiction, and that decision becomes final,
the parties thereto and their privies cannot escape its binding effect.  Lacking this
anchorage of finality a judicial system would be little more than a rule of fiat.


Permian Oil Co. v. Smith, 129 Tex. 413, 107 S.W.2d 564, 567 (1937).

	"To establish res judicata, the claimant must show:  (1) there was a prior final judgment on
the merits rendered by a court of competent jurisdiction; (2) the parties or those in privity with them
are identical in both suits; and (3) the same cause of action is involved in both suits."  Glazer's
Wholesale Distrib., Inc. v. Heineken USA, Inc., No. 05-99-01685-CV, 2001 WL 727351, at *10
(Tex. App.-Dallas June 29, 2001, pet. granted); see also Pinebrook Props., Ltd. v. Brookhaven Lake
Prop. Owners Ass'n, 77 S.W.3d 487, 495-96 (Tex. App.-Texarkana 2000, pet. denied) (citing
Amstadt v. United States Brass Corp., 919 S.W.2d 644, 652 (Tex. 1996)).  "Privity means a person
is bound by the rules of res judicata even though that person is not a party to the prior cause of
action, if the person is in privity with the party and the action terminated in a valid judgment." 
Traweek v. Larkin, 708 S.W.2d 942, 945 (Tex. App.-Tyler 1986, writ ref'd n.r.e.).  

	When a court must determine whether res judicata bars a subsequent claim, and where the
prior judgment does not, on its face, affirmatively resolve all three questions inherent in the res
judicata inquiry (including what  issues were resolved by the prior lawsuit), then that court may look
to evidence outside the prior judgment itself to resolve the res judicata&nbsp;inquiry.  Permian Oil Co.,
107 S.W.2d at 567.  In the case at bar, the issues litigated by the parties are not evident from the four
corners of the 1992 judgment.  We cannot, looking at the judgment alone, determine what claims
or issues were resolved by the 1992 judgment.  See Glazer's Wholesale Distrib., Inc., 2001 WL
727351, at *10 (to apply res judicata, future court must be able to determine issues resolved in prior
case).  Accordingly, we find the trial court did not err by looking to evidence outside the judgment
itself to determine the issues resolved by the prior lawsuit. (3)

	Collins cites Mansfield v. City of Port Lavaca, 698 S.W.2d 429 (Tex. App.-Corpus Christi
1985, no writ), and McCurry v. Aetna Cas. &amp; Sur. Co., 742 S.W.2d 863 (Tex. App.-Corpus Christi
1987, writ denied), in his reply brief for the proposition that a "take-nothing" judgment should
always preclude examination of evidence outside the judgment itself.  Mansfield and McCurry say
only that a take-nothing judgment is not ambiguous and have nothing to do with res judicata or the
extent to which a prior take-nothing judgment has a preclusive effect.  Neither case supports Collins'
position on appeal.

	The 1992 findings of fact and conclusions of law make clear that the trial court granted a
take-nothing judgment in Collins' favor because the debt would not become due until either the
Hyundai case settled or the court of appeals issued its opinion in that case.  Res judicata will not bar
a plaintiff's recovery in a subsequent lawsuit absent a showing that the same claims were mature at
the time of the prior judgment.  Musgrave v. Owen, 67 S.W.3d 513, 522 (Tex. App.-Texarkana
2002, no pet.); see also Hernandez v. Del Ray Chem. Int'l, Inc., 56 S.W.3d 112, 116 (Tex.
App.-Houston [14th Dist.] 2001, no pet.) (for res judicata to apply, claim must be in existence at
time suit is filed and cannot merely be prospective claim); Loyd v. Eco Res., Inc., 956 S.W.2d 110,
125-26 (Tex. App.-Houston [14th Dist.] 1997, no pet.) (prior suit not ripe for declaratory judgment;
subsequent suit not barred by prior judgment). 

	In the 1992 lawsuit, Collins successfully argued that the debt would be due when the court
of appeals issued an opinion in the Hyundai case.  Collins stated, before the first trial court on June
30, 1994, that as soon as Hyundai settled with Chandler, Video One would be paid, implying that
the debt was not yet due.  Now, in 2002, Collins takes the contrary position that the debt was due in
1991.  Despite his current claims, however, the first trial court ruled-as a matter of law-that issuance
of an appellate court opinion on the merits of the case would trigger Collins' obligation to pay Video
One under the parties' contract.  Furthermore, those findings of fact expressly state that Collins, as
the listed defendant, owes $93,854.51 for the services furnished by Video One pursuant to the oral
contract.  Collins did not appeal the trial court's ruling or object to its findings of fact and
conclusions of law.    

	The prospective debt for videotaping services contemplated by the 1992 judgment became
due August 25, 1994, when the appeal in the Hyundai case was resolved.  Collection of the debt was
not barred by the 1992 judgment under the doctrine of res judicata. (4)  Collins' first point of error is
overruled.

	B.  Statute of Limitations

	In his second point of error, Collins claims Guinn is barred from recovery by the statute of
limitations.  Citing the invoice he received from Guinn, Collins argues the debt at issue was due on
August 18, 1991.  On its face, the invoice (dated August 8, 1991) states "TERMS:  Net 10."  A suit
for a debt must be brought within four years of its due date.  Tex. Civ. Prac. &amp; Rem. Code Ann.
§&nbsp;16.004 (Vernon 2002).  Guinn did not intervene in the Hyundai suit until September 6, 1996, well
after the fourth anniversary of the invoice's August 18, 1991, payment due date.  Collins concludes
that the four year statute of limitations bars Guinn's ability to recover.

	The 1992 findings of fact and conclusions established, as a matter of law, that the debt was
due when the court of appeals issued its opinion on the merits of the Hyundai suit.  The Thirteenth
Court of Appeals issued its opinion on August 25, 1994.  See Hyundai Motor Co., 882 S.W.2d at
608.  Guinn sued Collins for the debt on September 6, 1996.  The four year statute of limitations had
not expired prior to Guinn intervening in the Hyundai suit.  We overrule Collins' second point of
error.

	C.  Guinn's Motion for Summary Judgment

	In his third point of error, Collins contends conflicting evidence should have precluded
summary judgment in favor of Guinn.  A trial court may grant a motion for summary judgment only
when there is no genuine issue of material fact and when the movant is entitled to judgment as a
matter of law on the issues expressly set forth in the motion.  Tex. R. Civ. P. 166a(c).  The evidence
in this case showed that in 1991 Guinn claimed the debt was due in 1991; in his 1996 Plea In
Intervention, however, Guinn claimed the debt was due when Chandler settled her case with Hyundai
or when an appellate court issued its opinion on the merits of the Hyundai suit.  This factual
inconsistency, according to Collins, created a genuine issue of material fact that should have
precluded summary judgment in favor of Guinn.

	Collins cites Dillard v. NCNB Tex. Nat'l Bank, 815 S.W.2d 356 (Tex. App.-Austin 1991,
no writ), for the proposition that conflicting statements of fact in the summary judgment proof create
a fact issue precluding summary judgment.  In Dillard, the trial court determined that the Bank was
the proper owner of a negotiable instrument (the debt) at issue.  Id. at 357.  The Austin Court of
Appeals reversed, stating that the Bank was not entitled to summary judgment for two reasons:  first,
the debt was not a negotiable instrument; and second, the Bank had presented conflicting evidence
on who was the proper holder of the note, thereby precluding summary judgment. (5)  Id. at 359-61. 

	The holding in Dillard is not applicable to the case at bar.  In Dillard, the Austin Court of
Appeals held the trial court could not grant summary judgment on an unsettled issue when
conflicting evidence existed on that issue.  In the case at bar, the contested issue-the date on which
the debt became due-had previously been determined as a matter of law.  The 1992 judgment held
the debt was due when the appellate court issued its opinion on appeal of the Hyundai case.  Neither
party appealed the 1992 judgment.

	"[A] fact is 'material' . . . [and will thereby preclude summary judgment] where it affects the
outcome of the suit."  Zapata v. Children's Clinic, 997 S.W.2d 745, 747 (Tex. App.-Corpus Christi
1999, pet. denied).  Facts that cannot affect the outcome of the suit under governing law will not
preclude entry of summary judgment.  Id.  

	In the case at bar, any evidence that the debt was due prior to settlement of the Hyundai case
must be disregarded as immaterial because such evidence conflicts with the 1992 conclusions of law. 
The evidence Collins cites as creating a genuine issue of material fact was properly disregarded by
the trial court.  We find the trial court did not err by granting summary judgment in Guinn's favor. 
We overrule Collins' third point of error. 

	D.  Sufficiency of the Evidence To Support Guinn's Motion for Summary Judgment

	In his fourth point of error, Collins contends Guinn failed to present competent evidence to
support his motion for summary judgment.  Under that point of error, Collins advances various
arguments.  All of his arguments hinge on his contention that the 1992 findings of fact and
conclusions &nbsp;of &nbsp;law &nbsp;constitute &nbsp;an &nbsp;irrelevant, &nbsp;impermissible &nbsp;collateral &nbsp;attack &nbsp;on &nbsp;the &nbsp;1992 &nbsp;"take-nothing" judgment.  As his central contention fails, so also do Collins' arguments under that
contention.

	On November 3, 1998, Guinn moved for summary judgment on his breach of contract claim
against Collins.  The trial court granted Guinn's motion for summary judgment on that issue,
awarding the principal $93,854.51, plus prejudgment interest of $4,223.45, attorney's fees of
$40,000.00, court costs, and post-judgment interest at the rate of ten percent per annum.  Collins first
claims "[n]o specific legal theory of Collins' purported liability is specifically identified by Video
One in its Motion for Summary Judgment."  Guinn's motion for summary judgment asserts the right
to recover from Collins based on services rendered "pursuant to the terms of the agreement" and
"under the contract" between Video One and Collins.  Guinn's motion for summary judgment also
clearly states "the undisputed evidence demonstrates that Video One is entitled to a summary
judgment against Collins, Chandler, or both, for the reasonable value of the goods and services
provided in the amount of $93,854.51."  We believe this language clearly identifies that the relief
sought is payment of a debt owed pursuant to a valid contract.

	Collins next claims he should not be held personally liable because he was merely Chandler's
agent.  Generally, agents are not liable for claims or debts incurred on behalf of a disclosed principal. 
See Seale v. Nichols, 505 S.W.2d 251, 255 (Tex. 1974).  If, however, the agent explicitly or
implicitly obligates himself or herself in the contract, then the agent may be held liable for a debt
undertaken on a principal's behalf.  Schaeffer v. O'Brien, 39 S.W.3d 719, 721 (Tex. App.-Eastland
2001, pet. denied).  In this case, the 1992 judgment states-as a matter of law-that Collins and
Chandler are jointly liable for the debt once it accrues.  That judgment did not find Collins was
acting merely as the agent on Chandler's behalf; and, again, Collins did not object to the 1992
findings and conclusions.  Guinn introduced those findings of fact and conclusions of law into
evidence to support his motion for summary judgment.  The trial court in the case at bar had before
it evidence that Collins was himself liable for the debt.  Additionally, Collins testified on June&nbsp;30,
1994, that his agreement with Guinn was that Video One would be paid when Hyundai settled the
Chandler case.  This testimony, also entered into evidence in the case at bar, constitutes evidence that
Collins implicitly, if not explicitly, obligated himself to pay Guinn.  Given this fact, and the 1992
finding that Collins himself was jointly and severally liable, the trial court in this action had before
it competent evidence of Collins' personal liability.

	Finally, Collins asserts that Guinn failed to produce competent summary judgment evidence
on each material element required for claims for breach of contract and attorney's fees. (6)

	1.  Breach of contract

	The elements to prove a breach of contract are (1) the existence of a valid contract, (2) the
plaintiff's performance under the contract, (3) a defendant's breach of that contract, and (4) evidence
of damages suffered by the plaintiff as a result of the defendant's breach.  Taub v. Houston Pipeline
Co., 75 S.W.3d 606, 615 (Tex. App.-Texarkana 2002, pet. denied).  "Reliance is not required to
prove a breach of contract."  Nat'l W. Life Ins. Co. v. Rowe, 86 S.W.3d 285, 297 (Tex. App.-Austin
2002, pet. filed).  In support of his motion for summary judgment, Guinn introduced into evidence
the 1992 findings of fact and conclusions of law, the 1991 invoice, an affidavit from Guinn stating
he had performed the services requested under the contract and not received payment from Collins,
and a letter from Chandler's counsel confirming settlement of the Hyundai case.  

	The 1992 findings of fact and conclusions of law established, as a matter of law, the
existence of a valid contract between Collins and Guinn for video services.  The 1991 invoice was
evidence of performance under that contract by Guinn.  Guinn's affidavit also provided evidence of
performance by Guinn, as well as evidence of Collins' breach of contract by his nonpayment.  And
the 1991 invoice was evidence that Guinn suffered damages of $93,854.51 because of Collins'
breach.  Accordingly, we believe the trial court had before it competent evidence supporting each
element of Guinn's breach of contract claim.

	2.  Attorney's Fees

	Collins contends the trial court erred by awarding Guinn $40,000.00 for his attorney's fees. 
Collins cites Arthur Andersen &amp; Co. v. Perry Equipment Corp., 945 S.W.2d 812, 818 (Tex. 1997),
for the proposition that a trial court must consider five specific factors, in addition to others, when
determining whether to award attorney's fees:  (1) whether the attorney's fee was a contingent fee or
an hourly fee, (2) the total number of hours worked, (3) the novelty or difficulty of the claims and
defense presented, (4) the extent to which employment in this case precluded employment in other
matters, and (5) whether any of the fees charged in the case were for time or expenses incurred in
prosecution of a prior lawsuit.  Collins also asserts, correctly, that the affidavit supporting Guinn's
claim for attorney's fees does not address each of the Arthur Andersen criteria.   

	In Arthur Andersen &amp; Co., the Texas Supreme Court determined that the five factors listed
above, in addition to others, should be considered when determining an award of attorney's fees in
Deceptive Trade Practices Act cases where the plaintiffs hired their lawyers on a contingency basis. 
Id. at 818.  Arthur Andersen does not discuss facts that a trial court should consider in awarding
attorney's fees based on an hourly rate contract.  Id.  In the case at bar, the evidence before the trial
court did not indicate Guinn's attorney's fees were contingent on the amount of the recovery from
Collins; instead, it appears the fees were either billed on an hourly basis or based on a type of flat-fee
schedule.

	"What constitutes reasonable attorney's fees is a question of fact, but clear, direct,
uncontroverted evidence of attorney's fees is taken as true as a matter of law, especially when the
opposing party has not rebutted the evidence."  Merch. Ctr., Inc. v. WNS, Inc., 85 S.W.3d 389, 397
(Tex. App.-Texarkana 2002, no pet.) (citing Ragsdale v. Progressive Voters League, 801 S.W.2d
880, 881-82 (Tex. 1990)).  "To constitute proper summary judgment evidence under Rule 166a(f),
an affidavit [supporting attorney's fees] must be made on personal knowledge, set forth facts which
would be admissible in evidence, and show the affiant's competence."  Merch. Ctr., Inc., 85 S.W.3d
at 397 (citing Fisher v. Yates, 953 S.W.2d 370, 383 (Tex. App.-Texarkana 1997), writ denied, 988
S.W.2d 730 (Tex. 1998) (per curium)).

	In this case, Collins presented no evidence to controvert the affidavit supporting Guinn's
request for attorney's fees.  The affidavit provided by Guinn's attorney, however, was made on
personal knowledge, set forth facts that would be admissible in evidence through live testimony, and
demonstrated the affiant's competence as an attorney who is familiar with the customary rates
charged in the Harris County area for work of a similar nature and complexity.  Therefore, the
uncontroverted attorney's fees testimony established the legal fees as a matter of law.  See World
Help v. Leisure Lifestyles, Inc., 977 S.W.2d 662, 684 (Tex. App.-Fort Worth 1998, pet. denied). 
Sufficient evidence exists to support the trial court's award of attorney's fees.  Collins' point of error
is overruled.

E.  Denial of Collins' Motion for Summary Judgment

	In his final point of error, Collins contends the trial court erred by denying his motion for
summary judgment, which asserted the debt was barred by res judicata and by the statute of
limitations. 

	From the 1992 findings of fact and conclusions of law, it is clear the earlier lawsuit found
the debt was not due until the appellate court issued its opinion in the Hyundai suit.  A finding that
a debt is not yet due will not act to preclude its recovery once the debt matures.  Cf. Griffin v.
Holiday Inns of Am., 496 S.W.2d 535, 538 (Tex. 1973) (judgment on merits in suit on one cause of
action is not conclusive of subsequent suit on different cause of action except as to issues of fact
actually litigated and determined in first suit).  Accordingly, the trial court did not err by denying
Collins' motion for summary judgment based on res judicata.  

	Additionally, because the appeal of the Hyundai suit was resolved in 1994, Guinn's claim for
the $93,854.51 debt was not barred by the statute of limitations.  We overrule Collins' final point of
error.



	We affirm the judgment of the trial court.


						Josh R. Morriss, III

						Chief Justice


Date submitted:	February 20, 2003

Date decided:		April 1, 2003
1. Guinn died in 2002.  On November 19, 2002, this Court entered an order designating Tessie
O. Guinn, executrix of Guinn's estate, as the real party in interest.
2. We take judicial notice of the date of issuance of our sister court's opinion in Hyundai Motor
Co. v. Chandler, 882 S.W.2d 606 (Tex. App.-Corpus Christi 1994, writ denied).  See Tex. R. Evid.
201;  Grice v. State, 142 Tex. Crim. 4, 151 S.W.2d 211, 216 (1941) ("judicial knowledge will be
taken of those things that are known, or should generally be known, within the jurisdiction of the
court"); In re Trevino, 79 S.W.3d 794, 795 (Tex. App.-Corpus Christi 2002, no pet.) (appellate court
may take judicial notice of appellate court's action in another case).  The appeal had been transferred
to the Thirteenth Court of Appeals by order of the Texas Supreme Court under the Texas Docket
Equalization program.  We therefore treat the opinion by the Thirteenth Court of Appeals as the
"opinion of the First Court of Appeals" within the meaning of the Conclusions of Law, and thus as
the event that made the debt then due and payable.
3. The term "judgment roll" is synonymous with "judgment record" or the "face of the record." 
Permian Oil Co. v. Smith, 129 Tex. 413, 107 S.W.2d 564, 566 (1937).  In the earliest cases of
English jurisprudence, an officer of the court preserved on a parchment scroll a record of the issues
that the contestants agreed to litigate.  During these early times, all pleadings were oral.  This
parchment roll would ultimately embrace the written pleadings, the court's charge to the jury, the
jury's verdict, the court's final judgment, and other similar matters constituting a part of the
proceedings of the trial.  Later, if one of the parties was sued again, the same or a different court
could examine this parchment roll to determine whether it should make a proper application of the
rule of res judicata, the record being preserved, among other reasons, in order to show what issues
had been disposed of and the parties were bound thereby.  When inquiry as to what constitutes the
judgment record arises, it must be remembered that ordinarily one of the purposes of the inquiry is
to properly apply the rule of res judicata.  "Every part of the trial proceedings preserved in courts
of record under direction of the court for the purpose of its record constitutes the judgment roll."  Id.

	The parties agree that the 1992 findings of fact and conclusions of law constitute part of the
"judgment roll."  They disagree, however, whether the trial court in 2002 should have been allowed
to consider the substance of the 1992 findings of fact in determining whether to grant summary
judgment to Guinn.  Collins contends the trial court may examine evidence in the judgment
roll-other than the judgment itself-only when the judgment itself is unclear.  Collins believes the
judgment is clear; therefore, the trial court erred by looking at any evidence or documents outside
the four corners of the judgment.  Guinn contends the judgment does not tell what issues were
resolved by the judgment, and, therefore, the trial court properly considered the 1992 findings and
conclusions in deciding to grant summary judgment in Guinn's favor.  Guinn's position is supported
by the authorities.
4. It might be suggested that the 1992 judgment is void on the theory the trial court lacked
jurisdiction to resolve an issue that was not ripe.  Traditionally, courts should not resolve issues
between litigants unless the suit is ripe.  Patterson v. Planned Parenthood of Houston and Southeast
Tex., Inc., 971 S.W.2d 439, 443 (Tex. 1998).  The cause before the 1992 trial court, however, was
ripe.  The issues before the 1992 trial court were (1) whether a contract existed between the parties,
and (2) if a contract existed between the parties, what were the terms of that contract.  A trial court
has jurisdiction to determine whether a contract exists between the parties, what the terms of any
contract &nbsp;might &nbsp;be, &nbsp;and &nbsp;whether &nbsp;one &nbsp;of &nbsp;the &nbsp;parties &nbsp;has &nbsp;breached &nbsp;the &nbsp;contract.  &nbsp;Tex. &nbsp;Const.
art. V, § 8; Diocese of Galveston-Houston v. Stone, 892 S.W.2d 169, 174 (Tex. App.-Houston [14th
Dist.] 1994, no writ).  Therefore, the 1992 judgment is not void for lack of ripeness.  Whether,
however, the trial court should have entered a take-nothing judgment (rather than a dismissal without
prejudice), is not the issue before this Court, and we do not reach that issue.
5. The original holder of the debt was RepublicBank Austin, which was later succeeded by
RepublicBank Austin, N.A., which transferred the debt to the Federal Reserve Bank in Dallas for
as long as the debtor made timely payments on the note.  RepublicBank Austin, N.A. then became
insolvent, fell into the receivership of the FDIC, who transferred Republic's assets to NCNB, Texas. 
The debtor then failed to make a payment, and NCNB sued to collect.  The Austin Court of Appeals
found that NCNB Texas had failed to show a transfer of the ownership of the note from either the
Federal Reserve Bank in Dallas to NCNB or from RepublicBank to NCNB, because, as a debt that
was not a negotiable instrument, the debt could not be transferred by merely endorsing the note; it
could, however, be assigned.  The problem arose when there was no evidence of assignment from
the Federal Reserve Bank to NCNB.  Dillard v. NCNB Tex. Nat'l Bank, 815 S.W.2d 356, 357-61
(Tex. App.-Austin 1991, no writ).
6. Collins also claims there is insufficient evidence to support Guinn's claims under quantum
meruit and the main purpose doctrine.  Guinn did not plead these causes of action in his motion for
summary judgment, nor did the trial court grant relief on these claims.  Accordingly, we need not
address evidentiary sufficiency as it relates to any claims under the main purpose doctrine or
quantum meruit.


